       Case: 1:24-cv-01857-DAR Doc #: 48 Filed: 06/17/25 1 of 3. PageID #: 988




                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 CLEVELAND BROWNS FOOTBALL                       )   CASE NO. 1:24-CV-01857
 COMPANY LLC, et al.                             )
                                                 )
                        Plaintiffs,              )   JUDGE DAVID A. RUIZ
                                                 )
 vs.                                             )
                                                 )   Magistrate Judge
 THE CITY OF CLEVELAND, et al.                   )   Jonathan D. Greenberg
                                                 )
                        Defendants,              )
                                                 )   Defendants’ Unopposed Motion for an
STATE OF OHIO,                                   )   Extension of Time to Answer
                                                 )
                        Intervenor.              )


                     DEFENDANTS’ UNOPPOSED MOTION FOR AN
                         EXTENSION OF TIME TO ANSWER


        Defendants respectfully move this Court for an extension of time to answer Plaintiffs’

Second Amended Complaint.         Plaintiffs filed that complaint on May 26, 2025.       Doc. 41.

Defendants filed a motion to dismiss that complaint 21 days later, on June 9, 2025. Doc. 44;

accord Fed. R. Civ. P. 12(a)(1)(A)(i). Ordinarily, a Rule 12 motion to dismiss delays the time to

answer until 14 days after the Court disposes of that motion. Fed. R. Civ. P. 12(a)(4)(A); see also

Doc. 40 (“Once Plaintiff files the Second Amended Complaint, Cleveland and Ohio may move,

answer, or otherwise respond within the time set forth by the Federal Rules of Civil Procedure and

the Local Rules.”). On June 10, this Court issued a Case Management Conference Scheduling

Order, which stated that “[t]he filing of a motion to dismiss shall not delay the time in which the

party must answer the complaint.” Doc. 46 at 5 (PageID 972). Because Defendants were not


                                                1
     Case: 1:24-cv-01857-DAR Doc #: 48 Filed: 06/17/25 2 of 3. PageID #: 989




aware of any departure from Rule 12(a)(4)(A) until they received the June 10 order, Defendants

hereby request an extension until June 30 to answer. Plaintiffs do not oppose this request.



                                                     Respectfully submitted:

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                                                2
      Case: 1:24-cv-01857-DAR Doc #: 48 Filed: 06/17/25 3 of 3. PageID #: 990




                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing was filed electronically on the 17th day of

June, 2025. Notice of this filing will be sent to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s system.

                                              s/ Justin E. Herdman

                                              One of the Attorneys for Defendants




                                                 3
